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United Energy Supply Corp., Global Energy, LLC,
All Amerz`can Power & Gas, LLC,

Flana'ers Energy LLC and Pure Energy USA, LLC

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Chapter ll
BIG APPLE ENERGY, LLC Case No. 18-75807-ast

Debtor.
X

 

NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS
PLEASE TAKE NOTICE that Ruskin Moscou Faltischek, P.C. (“RMF”) by Jeffrey A. Wurst,
hereby appears as counsel on behalf of ALLIED CONSOLIDATED ENERGY, UNITED
ENERGY SUPPLY CORP., GLOBAL ENERGY, LLC, ALL AMERICAN POWER & GAS,
LLC, FLANDERS ENERGY LLC AND PURE ENERGY USA, LLC (collectively, the “ESCO
Claimants”) and, pursuant to ll U.S.C. § llO9(b) and Rules 2002, 2018, 4001, 9007 and 9010 of
the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), demands that all notices
given or required to be given in this case, and all papers served or required to be served in this
case, be given to and served upon RMF at the following address:

Jeffrey A. Wurst, Esq.

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PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the
notices and papers referred to in the Bankruptcy Rules specified above, but also includes,
without limitation, orders and notices of any application, motion, petition, pleading, request,
complaint or demand, whether formal or informal, whether written or oral, and whether
transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex, electronic mail or
otherwise, Which affect or seeks to affect in any way, any rights, claims or interests of the ESCO
Claimants.

PLEASE TAKE FURTHER NOTICE that neither this notice, any subsequent appearance
(by pleading or otherwise), nor any participation in or in connection with the Debtor’s Chapter
ll case and Adversary Proceeding is intended to be, or shall be construed as, a waiver of the
ESCO Claimants’ (i) rights to have final orders in non-core matters entered only after de novo
review by a District Court judge; (ii) rights to trial by jury in any proceeding so triable in this
case or any case, controversy, or proceeding related thereto; (iii) rights to have the reference
withdrawn in any matter subject to mandatory or discretionary withdrawal or (iv) any other
rights, claims, actions, defenses, setoffs, or recoupments, all of which rights, actions, setoff,
defenses, and recoupments are expressly reserved.

Dated: Uniondale, New York
September 11, 2018
RUSKIN MOSCOU FALTISCHEK, P.C.
Attorneys for Ameristar Energy, LLC,
Alliea' Consolia'ated Energy, Um'ted Energy Supply
Corp., Global Energy, LLC, All American Power &

Gas, LLC, Flana'ers Energy LLC and Pure Energy
USA, LLC

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